
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-2365

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.

                                   RAMON ZORRILLA,
                                Defendant, Appellant.
                              _________________________

          No. 95-2249

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.

                              MIGUEL CALDERON SALMIENTO,
                                Defendant, Appellant.

                              _________________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

                   [Hon. Daniel R. Dominguez, U.S. District Judge]
                                              ___________________

                              _________________________

                                        Before

                                Selya, Cyr and Lynch,
                                   Circuit Judges.
                                   ______________
                              _________________________

               Gustavo  A. Gelpi, Jr.,  Assistant Federal  Public Defender,
               ______________________
          with whom Benicio Sanchez Rivera, Federal Public Defender, was on
                    ______________________
          brief, for appellants.
               Jose A.  Quiles-Espinosa,  Senior Litigation  Counsel,  with
               ________________________
          whom Guillermo Gil, United States Attorney, Antonio R. Bazan  and
               _____________                          ________________
          Nelson  Perez-Sosa,  Assistant United  States Attorneys,  were on
          __________________
          brief, for appellee.
                              _________________________

                                   August 19, 1996
                              _________________________
















                    SELYA, Circuit  Judge.   Defendants Ramon  Zorrilla and
                    SELYA, Circuit  Judge.
                           ______________

          Miguel Calderon  Salmiento were charged, inter  alia, with aiding
                                                   _____  ____

          and  abetting  each  other  in  the  intended  distribution of  a

          controlled  substance  (approximately two  kilograms  of cocaine)

          within 1,000  feet of a  school.   See 21 U.S.C.     841(a)(1)  &amp;
                                             ___

          (b)(1)(B),  860(a);   18  U.S.C.     2.1    They  challenged  the

          constitutionality of section 860(a), but the district court ruled

          against them.   See United States v. Salmiento, 898  F. Supp. 45,
                          ___ _____________    _________

          46-48  (D.P.R. 1996).    They then  pled  guilty to  the  charge,

          reserving  the right  to revisit  the constitutional  question on

          appeal.  The lower court sentenced them under 21 U.S.C.   841(b),

          making use of  the enhancement  directed by 21  U.S.C.    860(a).

          These proceedings followed.

                    We review  the constitutionality of an  Act of Congress

          de novo.   See United  States v. Gifford,  17 F.3d 462,  472 (1st
                     ___ ______________    _______

          Cir. 1994).  The statute that the appellants challenge, 21 U.S.C.

            860(a), by its terms applies to some    but not all   offenders

          who  manufacture or  distribute, or  who possess  with intent  to

          manufacture   or   distribute,  controlled   substances,  thereby

          violating 21  U.S.C.    841(a)(1).   The selection  process under

          section  860(a)  operates  by   plucking  from  the  mine-run  of

          miscreants who  violate section 841(a)(1) those  whose crimes are

          committed within 1,000 feet of a school  and essentially doubling

                              
          ____________________

               1We   reproduce  the  relevant   text  of  sections  860(a),
          841(a)(1), and  841(b)(1)(B) in the appendix.   18 U.S.C.   2 is,
          of  course, the  familiar  statute that  criminalizes aiding  and
          abetting, and we see no need to reprint it.

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          the maximum  available punishment.    Thus, section  860(a) is  a

          sentence-enhancer, pure and simple.

                    The defendants contend  that this  sentence-enhancement

          scheme runs afoul of  the Commerce Clause, U.S. Const.  art. I,  

          8,  cl.  3, because  Congress lacked  power  under the  Clause to

          legislate in  this realm.   They pin their  hopes on  the Court's

          opinion in United States v. Lopez, 115 S. Ct. 1624 (1995).  Their
                     _____________    _____

          reliance is mislaid.

                    We need  not tarry.   Although  the Lopez  Court struck
                                                        _____

          down  the   Gun-Free  School  Zones  Act,  18   U.S.C.     922(q)

          (criminalizing the possession of  firearms within a school zone),

          on the ground that the prohibited  conduct was not of a type that

          substantially affects interstate commerce, 115 S. Ct. at 1631, it

          did  so  because the  underlying  conduct    firearms  possession

          simpliciter   "has nothing  to do with `commerce' or  any sort of
          ___________

          economic  enterprise,  however  broadly one  might  define  those

          terms."   Id. at 1630-31.   The Lopez  Court nonetheless  made it
                    ___                   _____

          perfectly clear  that, under the Commerce  Clause, Congress could

          regulate, inter alia, those activities which have a consequential
                    _____ ____

          effect on,  or which  bear a  meaningful relation  to, interstate

          commerce.  See  id. at 1629-30 (citing  NLRB v. Jones  &amp; Laughlin
                     ___  ___                     ____    _________________

          Steel Corp., 301 U.S. 1, 37 (1937)).
          ___________

                    This  is such  a  case.   Here,  unlike in  Lopez,  the
                                                                _____

          statutory  scheme has  an unmistakable  commercial nexus  and the

          underlying  conduct possesses  a significant  economic dimension.

          Many  courts,   including  this   court,  have  held   that  drug


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          trafficking  is precisely  the kind  of economic  enterprise that

          substantially  affects interstate  commerce and  that, therefore,

          comes  within  Congress's  regulatory  power under  the  Commerce

          Clause.  See, e.g., United States v. Lerebours, 87 F.3d 582, 584-
                   ___  ____  _____________    _________

          85 (1st Cir.  1996); United States v. Staples, 85  F.3d 461, 463,
                               _____________    _______

          amended,  ___ F.3d ___ (9th  Cir. 1996) [1996  WL 359984]; United
          _______                                                    ______

          States v. Genao,  79 F.3d  1333, 1336-37 (2d  Cir. 1996);  United
          ______    _____                                            ______

          States v. Wacker, 72  F.3d 1453, 1475 (10th Cir.  1995), petition
          ______    ______                                         ________

          for  cert. filed, No. 95-9284 (U.S. June 10, 1996); United States
          ________________                                    _____________

          v.  Brown, 72  F.3d 96,  97 (8th  Cir. 1995) (per  curiam), cert.
              _____                                                   _____

          denied, 116 S. Ct. 2581 (1996); United  States v. Leshuk, 65 F.3d
          ______                          ______________    ______

          1105, 1112 (4th Cir. 1995).  Indeed, Congress made particularized

          findings  to  this effect  when it  enacted  the full  panoply of

          criminal laws anent controlled substances.  See 21 U.S.C.   801.
                                                      ___

                    Given both this background and the truism "that courts,

          when passing upon the constitutionality of a statutory provision,

          must view it in the context of the whole  statutory scheme," Vote
                                                                       ____

          Choice, Inc. v.  DiStefano, 4 F.3d 26, 33 (1st  Cir. 1993), it is
          ____________     _________

          not  surprising to find that every court which has confronted the

          appellants'  argument in  the post-Lopez  era has  upheld section
                                             _____

          860(a) against  a Commerce Clause  challenge.  See,  e.g., United
                                                         ___   ____  ______

          States v. Tucker,  ___ F.3d  ___, ___  (6th Cir.  1996) [1996  WL
          ______    ______

          413411, at *1-4]; United States v. Rogers, ___ F.3d ___, ___ (7th
                            _____________    ______

          Cir. 1996) [1996 WL  399850, at *11-12]; United States  v. Clark,
                                                   _____________     _____

          67 F.3d 1154, 1165-66 (5th  Cir. 1995), cert. denied, 116 S.  Ct.
                                                  _____ ______

          1432 (1996); United  States v. Garcia-Salazar, 891 F.  Supp. 568,
                       ______________    ______________


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          569-72 (D. Kan. 1995); see also United States v. McDougherty, 920
                                 ___ ____ _____________    ___________

          F.2d  569,  572 (9th  Cir.  1990)  (scuttling pre-Lopez  Commerce
                                                            _____

          Clause  challenge to earlier version of    860(a)), cert. denied,
                                                              _____ ______

          499  U.S. 911 (1991).  Because we  do not doubt that Congress has

          the authority under the Commerce  Clause to regulate an  activity

          as  clearly  commercial in  character  as  drug trafficking,  and

          because the  particular statute that the  appellants challenge is

          nothing  more  than  a sentence-enhancer  applicable  to  certain

          proscribed drug trafficking activities, we  hold that 21 U.S.C.  

          860(a) does not trespass into constitutionally forbidden terrain.

          See generally Lopez, 115 S. Ct. at 1633 (hypothesizing that a law
          ___ _________ _____

          enacted  by virtue  of Congress's  "authority under  the Commerce

          Clause   to  regulate   numerous   commercial   activities   that

          substantially  affect  interstate  commerce and  also  affect the

          educational process" would survive a constitutional attack).

                    We need go  no further.2   The  challenged statute,  21

          U.S.C.   860(a), passes  constitutional muster under the Commerce

          Clause.   Hence, the  defendants' convictions and  sentences must

          stand.



          Affirmed.
          Affirmed.
          ________





                              
          ____________________

               2To the extent that  the appellants raise a  developed Tenth
          Amendment challenge to 21 U.S.C.   860(a), it is unavailing.  See
                                                                        ___
          Lerebours, 87 F.3d at  585; United States v. Owens,  996 F.2d 59,
          _________                   _____________    _____
          60-61 (5th Cir. 1993) (per curiam).

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                                  STATUTORY APPENDIX
                                  __________________

                    The sentence-enhancing  statute,   21 U.S.C.    860(a),

          provides in relevant part (with certain exceptions not applicable

          here) that:

                         Any   person    who   violates   section
                    841(a)(1)   .   .   .  of   this   title   by
                    distributing,   possessing  with   intent  to
                    distribute,  or  manufacturing  a  controlled
                    substance in  or on,  or within one  thousand
                    feet  of,  the  real  property  comprising  a
                    public or private elementary,  vocational, or
                    secondary  school  or  a  public  or  private
                    college, junior college,  or university, or a
                    playground,  or housing  facility owned  by a
                    public  housing authority, or within 100 feet
                    of a public or  private youth center,  public
                    swimming pool, or video arcade facility, is .
                    .  .   subject  to  (1)  twice   the  maximum
                    punishment  authorized  by section  841(b) of
                    this title;  and (2) at least  twice any term
                    of supervised release  authorized by  section
                    841(b) of this title for  a first offense.  A
                    fine up to twice  that authorized by  section
                    841(b)  of  this  title  may  be  imposed  in
                    addition   to   any   term  of   imprisonment
                    authorized by this subsection . . . .

          Section  860(a)  cross-references 21  U.S.C.    841(a)(1),  which

          provides in relevant part:

                         Except as [otherwise authorized by law],
                    it shall be unlawful for any person knowingly
                    or intentionally  
           
                         (1) to  manufacture, distribute, or
                         dispense, or possess with intent to
                         manufacture,     distribute,     or
                         dispense, a  controlled substance .
                         . . .

          Section 860(a) also cross-references 21 U.S.C.   841(b)(1), which

          provides in relevant part:

                         Except as otherwise provided  in section
                    859, 860,  or 861  of this title,  any person
                    who violates subsection  (a) of this  section

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                    shall be sentenced as follows:

                                        * * *
                         (B)  In  the case  of  violation of
                         subsection  (a)   of  this  section
                         involving   
                                        * * *
                         (ii) 500 grams or more of a mixture
                         or    substance     containing    a
                         detectable amount of  
                                        * * *
                         (II)  cocaine,  its salts,  optical
                         and geometric isomers, and salts of
                         isomers;
                                        * * *

                         such person shall be sentenced to a term
                    of imprisonment which may  not be less than 5
                    years and not  more than 40 years  . . .  , a
                    fine  not  to  exceed  the  greater  of  that
                    authorized in accordance with  the provisions
                    of Title  18, or $2,000,000 if  the defendant
                    is an individual . . . .






























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